Case 1:04-cr-10092-.]DT Document 38 Filed 08/05/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EAS'I`ERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
vs. Case No. l:O4crlOO92-ll

HOWARD MICHEAL PERRY

Defendant.

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ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond. It now appears

that the defendant has complied with the requirements of said bond and orders of this Court.

IT IS THEREFORE ORDERED that the ( $l0,000/ 10%= $lOO0.00)appearance bond (receipt J27764)

for this defendant be cancelled and discharged, and the Clerk is directed to issue a check on the Registry in the sum

of $1000.00, payable to: Bal‘bal‘a Perl'y, 8290 HWy 69 N., Saltillo, TN 38370; in full refund of the

cash appearance bond posted herein

@z/ML\M

 

JAM D. TODD

UN D STATES DISTRICT JUDGE

DATE: 51 £{AW M

Approved:

rom GO_ULD, CI_§ERK 'OF COURT

C am

' Deputy Clerk __ l

Th\s document entered on the docket sheet ln compliance

with Hu\e 55 andlor 32 (b) FRCrF on

"TDISRICT COUR - WESTERN D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:04-CR-10092 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

